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(,                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND



     JA VONNA BARNES,                              *
                                                   *
                   Plaintiff,                      *
                                                   *
     v.                                            *           Civil No. pJM 18-1473
                                                   *
     NCC BUSINESS SERVICES, INC.                   *
                                                   *
     and                                           *
                                                   *
     SUN RIDGE ASSOCIATES,          LP             *
                                                   *
                   Defendants.                     *
                                               ORDER

            Having considered Plaintiffs Motion for Partial Summary Judgment, ECF No. 82,

     Defendant Sun Ridge's response in Opposition, ECF No. 89, Defendant Sun Ridge's Motion for

     Summary Judgment, ECF No. 90, Defendant NCC's Cross-Motion for Summary Judgment, ECF

     No. 91, Plaintiffs Consolidated Response and Reply, ECF No. 92, Defendant Sun Ridge's

     Reply, ECF No. 93, and Defendant NCC's Reply, ECF No. 94, and for the reasons stated during

     the Motions Hearing on November 8, 2019, it is, this 8th day of November, 2019 \

            ORDERED:

                1. Plaintiffs Motion for Partial Summary Judgment is DENIED as to all counts;

               2. Defendant NCC's Motion for Partial Summary Judgment is GRANTED as to

                   Counts I, II, IX, X;

               3. Defendant NCC's Motion for Partial Summary Judgment is DENIED as to Count

                   VI;

               4. Defendant Sun Ridge's Motion for Summary Judgment is GRANTED as to

                   Counts IX and X;
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(    5. Defendant Sun Ridge's Motion for Summary Judgment is DENIED as to Counts

        I and II;

     6. The parties are directed to promptly advise the Court on whether they consent to

        referral to a Magistrate Judge for settlement discussions.




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                                                            ER J. MESSITTE
                                                           TATES DISTRICT JUDGE
